                   Case 19-12122-KG              Doc 891          Filed 02/10/20      Page 1 of 3



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    )     Chapter 11
                                                              )
    FOREVER 21, INC., et al.,1                                )     Case No. 19-12122 (KG)
                                                              )
                                       Debtors.               )     (Jointly Administered)
                                                              )     Re: Docket Nos. 802, 854, 857
                                                              )
                                                                    Rescheduled Hearing Time: February 11,
                                                              )     2020, at 1:00 p.m. (ET)

NOTICE OF RESCHEDULED SALE HEARING AND CANCELLATION OF AUCTION


             PLEASE TAKE NOTICE that on January 30, 2020, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”), filed the Debtors’ Motion for Entry of an Order

(A) Approving Bidding Procedures and Bid Protections in Connection with the Sale of

Substantially All of the Debtors’ Assets, (B) Approving the Form and Manner of Notice Thereof,

(C) Scheduling an Auction and Sale Hearing, (D) Approving Procedures for the Assumption and

Assignment of Contracts, (E) Approving the Sale of the Debtors’ Assets, and (F) Granting Related

Relief [Docket No. 802] (the “Motion”) with the United States Bankruptcy Court for the District

of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy

Court”).2

             PLEASE TAKE FURTHER NOTICE that, on February 4, 2020, the Bankruptcy Court

entered the Order (A) Approving Bidding Procedures and Bid Protections in Connection with the

Sale of Substantially All of the Debtors’ Assets, (B) Approving the Form and Manner of Notice


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Forever 21, Inc. (4795); Alameda Holdings, LLC (2379); Forever 21 International Holdings,
      Inc. (4904); Forever 21 Logistics, LLC (1956); Forever 21 Real Estate Holdings, LLC (4224); Forever 21 Retail,
      Inc. (7150); Innovative Brand Partners, LLC (7248); and Riley Rose, LLC (6928). The location of the Debtors’
      service address is: 3880 N. Mission Road, Los Angeles, California 90031.
2     Capitalized terms used but not otherwise defined herein have the meanings given to such terms in the Motion.
               Case 19-12122-KG         Doc 891      Filed 02/10/20     Page 2 of 3



Thereof, (C) Scheduling an Auction and Sale Hearing, (D) Approving the Sale of the Debtors’

Assets, and (E) Granting Related Relief [Docket No. 854] (the “Order”) approving Bidding

Procedures to govern the sale of substantially all of the Debtors’ assets (the “Bidding Procedures”).

       PLEASE TAKE FURTHER NOTICE that on February 9, 2020, the Debtors filed the

Notice of Suspended Auction [Docket No. 884] providing notice that the Auction would not be

proceeding on February 10, 2020, as previously scheduled.

       PLEASE TAKE FURTHER NOTICE that the Auction is cancelled.

       PLEASE TAKE FURTHER NOTICE that a hearing to consider the Debtors’ request to

approve the Stalking Horse Bid as the Successful Bidder absent further notice (the “Sale Hearing”)

was scheduled for February 11, 2020, at 10:00 a.m. (prevailing Eastern Time).

       PLEASE TAKE FURTHER NOTICE that the Sale Hearing has been rescheduled to

February 11, 2020, at 1:00 p.m. (prevailing Eastern Time) before the Honorable Kevin Gross,

United States Bankruptcy Judge, at the United States Bankruptcy Court for the District of

Delaware, 824 North Market Street, 6th Floor, Courtroom No. 3, Wilmington, Delaware 19801.




                                                 2
              Case 19-12122-KG    Doc 891      Filed 02/10/20     Page 3 of 3



Dated: February 10, 2020         /s/ Laura Davis Jones
Wilmington, Delaware             Laura Davis Jones (DE Bar No. 2436)
                                 James E. O’Neill (DE Bar No. 4042)
                                 Timothy P. Cairns (DE Bar No. 4228)
                                 PACHULSKI STANG ZIEHL & JONES LLP
                                 919 North Market Street, 17th Floor
                                 P.O. Box 8705
                                 Wilmington, Delaware 19899-8705 (Courier 19801)
                                 Telephone:      (302) 652-4100
                                 Facsimile:      (302) 652-4400
                                 Email:          ljones@pszjlaw.com
                                                 joneill@pszjlaw.com
                                                 tcairns@pszjlaw.com

                                 -and-

                                 Joshua A. Sussberg, P.C. (admitted pro hac vice)
                                 Aparna Yenamandra (admitted pro hac vice)
                                 KIRKLAND & ELLIS LLP
                                 KIRKLAND & ELLIS INTERNATIONAL LLP
                                 601 Lexington Avenue
                                 New York, New York 10022
                                 Telephone:     (212) 446-4800
                                 Facsimile:     (212) 446-4900
                                 Email:         jsussberg@kirkland.com
                                                aparna.yenamandra@kirkland.com

                                 -and-

                                 Anup Sathy, P.C. (admitted pro hac vice)
                                 KIRKLAND & ELLIS LLP
                                 KIRKLAND & ELLIS INTERNATIONAL LLP
                                 300 North LaSalle Street
                                 Chicago, Illinois 60654
                                 Telephone:       (312) 862-2000
                                 Facsimile:       (312) 862-2200
                                 Email:           asathy@kirkland.com

                                 Co-Counsel for the Debtors and Debtors in Possession
